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                     UNITED STATES COURT OF APPEALS                          FILED
                             FOR THE NINTH CIRCUIT                            MAY 1 2024
                                                                          MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
 CLINTON GLEN CRISHER,                              No. 24-197
                                                    D.C. No.
              Plaintiff - Appellant,                2:23-cv-02963-SB-PVC
                                                    Central District of California,
  v.                                                Los Angeles
 U.S. BANK NATIONAL ASSOCIATION,                    ORDER
 et al.;

              Defendants - Appellees,

 EXPERIAN INFORMATION SERVICES
 SPA and TRANSUNION,

              Defendants.

       On March 27, 2024, this court ordered appellant, within 28 days, to pay the

 filing fees for this appeal. The order warned appellant that failure to comply

 would result in the automatic dismissal of the appeal by the Clerk of the Court. To

 date, appellant has not complied with the court’s order. Accordingly, this appeal is

 dismissed for failure to prosecute. See 9th Cir. R. 42-1.

       All pending motions are denied as moot.

       This order served on the district court shall, 21 days after the date of the

 order, act as and for the mandate of this court.

                                               FOR THE COURT:
                                               MOLLY C. DWYER
                                               CLERK OF COURT
